 Case 21-05113-lrc        Doc 5   Filed 11/08/21 Entered 11/08/21 11:21:46            Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                              )   CASE NO. 18-55382-LRC
                                    )
BRENT MERRIELL,                     )   CHAPTER 13
            Debtor                  )
___________________________________ )
FLAG BOY PROPERTIES, LLC,           )   ADVERSARY PROCEEDING
                   Plaintiff,       )   NO. 21-05113
vs.                                 )
BRENT MERRIELL,                     )
                   Defendant.       )
___________________________________ )
                       AMENDED CERTIFICATE OF SERVICE

       This is to certify that on November 5, 2021 I served the “Summons And Complaint”
[Doc Nos. 1 and 3] upon all parties to this action listed below by depositing into the U.S. Postal
mail service with adequate postage thereon, addressed as follows:


 Brent Merriell                                   Elizabeth L. Hyman, Esq.

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This 8th day of November, 2021.                                      Respectfully submitted,


                                                                           /s/ Shayna M. Steinfeld
                                                                         Shayna M. Steinfeld, Esq.
                                                                                GA Bar No. 622895
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